      Case 5:15-cv-00208 Document 17 Filed in TXSD on 06/07/16 Page 1 of 2



                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                     LAREDO DIVISION

CYNTHIA LEAL AND ELEZAR LEAL                       §
                                                   §
       Plaintiffs,                                 §
                                                   §
v.                                                 §
                                                   §        CIVIL ACTION NO. 5:15-cv-208
NATIONWIDE GENERAL                                 §
INSURANCE COMPANY                                  §
                                                   §
       Defendant.                                  §

                 AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiffs Cynthia and Elezar Leal (“Plaintiffs”) and Defendant Nationwide General

Insurance Company (“Defendant”) hereby file this Agreed Stipulation of Dismissal With

Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(ii).

       1.        Plaintiffs move to dismiss the entire lawsuit with prejudice. Defendant agrees to

the dismissal.

       2.        This case is not a class action, and a receiver has not been appointed.

       3.        This dismissal is with prejudice. The parties have agreed that each party will bear

their own costs of suit.




                                               1
      Case 5:15-cv-00208 Document 17 Filed in TXSD on 06/07/16 Page 2 of 2



Respectfully submitted,


/s/ Kevin S. Baker                                   /s/ Patrick M. Kemp
Kevin S. Baker                                       Patrick M. Kemp
Texas Bar No. 00797799                               Texas Bar No. 24043751
Desiree Marrufo                                      Southern District Bar No. 38513
Texas Bar No. 24046351                               pkemp@smsm.com
Ketterman Rowland & Westlund                         Robert G. Wall
16500 San Pedro, Suite 302                           Texas Bar No. 24072411
San Antonio, Texas 78232                             Southern District Bar No. 1117137
Telephone (210) 490-7402                             rwall@smsm.com
Facsimile (210) 490-8372                             SEGAL MCCAMBRIDGE SINGER & MAHONEY,
                                                     LTD.
ATTORNEYS FOR PLAINTIFFS                             100 Congress Ave., Suite 800
CYNTHIA AND ELEZAR LEAL                              Austin, Texas 78701
                                                     Telephone (512) 476-7834
                                                     Facsimile (512) 476-7832

                                                     ATTORNEYS FOR DEFENDANT,
                                                     NATIONWIDE PROPERTY AND
                                                     CASUALTY INSURANCE CO.




                                CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing instrument has been served
electronically via CM/ECF on this the 7th day of June, 2016 to:

       Kevin S. Baker
       Desiree Marrufo
       Ketterman Rowland & Westlund
       16500 San Pedro, Suite 302
       San Antonio, Texas 78232


                                            /s/ Patrick M. Kemp
                                            Patrick M. Kemp




                                             2
